  Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 1 of 18. PageID #: 606245
Exhibit 1 to Mylan Defendants' Submission Regarding Plaintiff Fact Sheets and Service of Process

                                                                 No PFS in       No Service of
              Subdivision Name                 MDL Case No.
                                                                 Repository        Process
Adams County, Wisconsin                        1:17-op-45093         X                X
Board of County Commissioners of Delaware
                                                                     X                X
County, Oklahoma                               1:18-op-46321
Board of County Commissioners of Garvin
                                                                     X                X
County, Oklahoma                               1:18-op-46304
Borough of Ridgefield, New Jersey              1:18-op-46117         X                X
City of Atlanta, Georgia                       1:18-op-46308         X                X
City of Bangor, Maine                          1:18-op-46314         X                X
City of Berlin, New Hampshire                  1:18-op-46040         X                X
City of Birmingham, Alabama                    1:17-op-45008         X                X
City of Bogalusa, Louisiana                    1:18-op-46297         X                X
City of Broadview Heights, Ohio                1:18-op-45330         X                X
City of Dayton, Ohio                           1:17-op-45032         X                X
City of Eagle Pass, Texas                      1:18-op-46033         X                X
City of East Cleveland, Ohio                   1:18-op-45448         X                X
City of Euclid, Ohio                           1:18-op-46013         X                X
City of Findlay, Ohio                          1:18-op-46339         X                X
City of Fitchburg, Massachusetts               1:19-op-45030         X                X
City of Garfield Heights, Ohio                 1:18-op-45999         X                X
City of Gary, Indiana                          1:18-op-45929         X                X
City of Harrisburg, Illinois                   1:18-op-45594         X                X
City of Huron, Ohio                            1:18-op-45431         X                X
City of Keene, New Hampshire                   1:18-op-45511         X                X
City of Lakewood, Ohio                         1:18-op-45240         X                X
City of Laredo, Texas                          1:18-op-46026         X                X
City of Lewiston, Maine                        1:18-op-46315         X                X
City of Lorain, Ohio                           1:17-op-45000         X                X
City of Lyndhurst, Ohio                        1:18-op-45636         X                X
City of Macedonia, Ohio                        1:18-op-45447         X                X
City of Manchester, New Hampshire              1:17-op-45163         X                X
City of Mayfield Heights, Ohio                 1:18-op-45635         X                X
City of Nashua, New Hampshire                  1:18-op-45062         X                X
City of North Olmsted, Ohio                    1:18-op-46012         X                X
City of North Ridgeville, Ohio                 1:18-op-46015         X                X
City of North Royalton, Ohio                   1:18-op-45427         X                X
City of Olmsted Falls, Ohio                    1:18-op-46014         X                X
City of Palm Bay, Florida                      1:18-op-46132         X                X
City of Parma Heights, Ohio                    1:18-op-45773         X                X
City of Parma, Ohio                            1:17-op-45001         X                X
City of Princeton, Illinois                    1:18-op-45599         X                X
City of Rainsville, Alabama; Town of
                                                                     X                X
Hammondville, Alabama                          1:19-op-45135


                                               1
   Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 2 of 18. PageID #: 606246


                                                                   No PFS in    No Service of
               Subdivision Name                    MDL Case No.
                                                                   Repository     Process
City of Red Bay, Alabama; City of Russellville,
Alabama, Sheffield, Alabama; and Leighton,                             X             X
Alabama                                            1:19-op-45136
City of Strongsville, Ohio                         1:18-op-46111       X             X
City of Toledo, Ohio                               1:17-op-45005       X             X
City of Vestavia Hills, Alabama                    1:19-op-45141       X             X
City of Warren, Ohio                               1:18-op-45434       X             X
City of Warrensville Heights, Ohio                 1:18-op-46299       X             X
City of Wickliffe, Ohio                            1:18-op-45637       X             X
Clayton County, Georgia                            1:18-op-46298       X             X
Coos County, Oregon                                1:18-op-46300       X             X
County of Alachua, Florida                         1:18-op-45685       X             X
County of Ashtabula, Ohio                          1:18-op-45050       X             X
County of Fulton, Georgia                          1:18-op-45374       X             X
County of Hudson, New Jersey                       1:18-op-45937       X             X
County of Lake, Ohio                               1:18-op-45032       X             X
County of Lorain, Ohio                             1:18-op-45078       X             X
County of Osceola, Florida                         1:18-op-45669       X             X
Dekalb County, Georgia                             1:18-op-45503       X             X
Fayette County, Alabama; City of Fayette,
                                                                       X             X
Alabama; Byron Yerby, Alabama                      1:18-op-45211
Grant County, New Mexico                           1:19-op-45108       X             X
Harrison County Board of Commissioners, Ohio       1:18-op-45547       X             X
Henry County, Georgia                              1:18-op-46310       X             X
Hillsborough County, New Hampshire                 1:18-op-46353       X             X
Jackson County, Alabama; City of Bridgeport,
Alabama; City of Henagar, Alabama; City of New
Hope, Alabama; City of Scottsboro, Alabama;                            X             X
Town of Geraldine, Alabama; Town of
Woodville, Alabama                                 1:18-op-45634
Jefferson County, Alabama; Mike Hale, Sheriff of
Jefferson County, Alabama; City of Pleasant
Grove, Alabama; City of Hueytown, Alabama;                             X             X
City of Mountain Brook, Alabama; Jefferson
County Board of Health, Alabama                    1:18-op-45558
Jefferson County, Ohio                             1:18-op-45365       X             X
Lamar County, Alabama; City of Vernon,
Alabama; and Hal Allred, Sheriff of Lamar                              X             X
County, Alabama                                    1:18-op-45210
Lewis County, Washington                           1:18-op-46301       X             X




                                                   2
   Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 3 of 18. PageID #: 606247


                                                                  No PFS in    No Service of
              Subdivision Name                    MDL Case No.
                                                                  Repository     Process
County of Marion, Alabama; County of Pickens,
Alabama; County of Walker, Alabama; City of
                                                                      X              X
Dora, Alabama; City of Jasper, Alabama; City of
Sumiton, Alabama                                  1:18-op-45171
Marshall County, Alabama; City of Albertville,
Alabama; City of Arab, Alabama; City of Boaz,
                                                                      X              X
Alabama; City of Guntersville, Alabama; Town of
Douglas, Alabama; Town of Grant; Alabama          1:18-op-45230
Montgomery County, Georgia                        1:19-op-45292       X
Morgan County, Indiana                            1:18-op-45828       X              X
Municipality of Sabana Grande, Puerto Rico;
                                                                      X              X
Municipality of Cayey, Puerto Rico                1:18-op-45197
Prince George's County, Maryland                  1:18-op-45501       X              X
Richland County Children's Services, Ohio         1:17-op-45003       X              X
Rockdale County, Georgia                          1:18-op-46296       X              X
Roosevelt County, New Mexico                      1:18-op-46343       X              X
County of Sandusky, Ohio                          1:18-op-45254       X              X
The Board of County Commissioners of McClain
                                                                      X              X
County, Oklahoma                                  1:18-op-46303
The Board of County Commissioners of Ottawa
                                                                      X              X
County, Oklahoma                                  1:18-op-46323
Town of Cherokee, Alabama; City of Tuscumbia,
Alabama; County of Franklin, Alabama; County of                       X              X
Colbert, Alabama                                  1:18-op-45005
Township of Painesville, Ohio                     1:18-op-46035       X             X
Village of Brooklyn Heights, Ohio                 1:18-op-45450       X             X
Village of Newburgh Heights, Ohio                 1:18-op-45449       X             X
Washington County, Georgia                        1:18-op-45563       X        X (Mylan Inc.)
Jeffrey F. Wiley, Sheriff of Ascension Parish,
                                                                      X
Louisiana                                         1:18-op-45842
David Davis, Sheriff of Bibb County, Georgia      1:19-op-45360       X              X
City of Sylacauga, Alabama                        1:19-op-45900       X              X
City of Huntsville, Alabama                       1:19-op-45947       X              X
City of Orange Beach, Alabama                     1:19-op-45784       X              X
City of Prattville, Alabama                       1:19-op-45783       X              X
Lauderdale County, Alabama                        1:19-op-45845       X              X
City of Homewood, Alabama                         1:19-op-45973       X              X
Allegany County, New York                         1:19-op-46151       X              X
Fiscal Court of Monroe County, Kentucky           1:20-op-45016       X              X




                                                  3
    Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 4 of 18. PageID #: 606248


                                                                       No PFS in      No Service of
                Subdivision Name                       MDL Case No.
                                                                       Repository       Process
County of Alameda, California; City of Costa
Mesa, California; City of Anaheim, California;
City of Santa Ana, California; City of San
                                                                                        X (Mylan
Clemente, California; City of Encinitas, California;                       X
                                                                                    Technologies Inc.)
City of La Habra, California; City of La Mesa,
California; City of Oxnard, California; City of
Placentia, California                                  1:20-op-45055
Polk County, Missouri                                  1:20-op-45082       X                X
Clinton County, Missouri                               1:20-op-45130       X                X
Pike County, Missouri                                  1:20-op-45131       X                X
Ray County, Missouri                                   1:20-op-45132       X                X
Vernon County, Missouri                                1:20-op-45133       X                X
Lawrence County, Missouri                              1:20-op-45134       X                X
Henry County, Missouri                                 1:20-op-45135       X                X
Barton County, Missouri                                1:20-op-45171       X                X
Leland Falcon, Sheriff of Assumption Parish,
                                                                           X                X
Louisiana                                              1:20-op-45206
Assumption Parish, Louisiana                           1:20-op-45205       X                X
Town of Cottage City, Maryland                         1:20-op-45235       X                X
Dade County, Missouri                                  1:20-op-45224       X                X
McDonald County, Missouri                              1:20-op-45225       X                X
                                                                                        X (Mylan
                                                                           X         Pharmaceuticals
Shawnee County, Kansas                                 1:20-op-45226                Inc.; Mylan N.V.)
City of Dublin, California; City of Murietta,
                                                                           X                X
California                                             1:20-op-45255
Hickory County, Missouri                               1:20-op-45295       X                X
New Madrid, Missouri                                   1:20-op-45296       X                X
Adair County, Missouri                                 1:20-op-45297       X                X
Andrew County, Missouri                                1:20-op-45298       X                X
Dekalb County, Missouri                                1:20-op-45299       X                X
Grundy County, Missouri                                1:20-op-45300       X                X
Ralls County, Missouri                                 1:20-op-45292       X                X
Ascension Parish School Board, Louisiana               1:21-op-45006       X                X
St. Bernard Parish School Board, Louisiana             1:21-op-45014       X                X
Barry County, Missouri                                 1:21-op-45016       X                X
Lafourche Parish School Board, Louisiana               1:21-op-45036       X                X
St. James Parish School Board, Louisiana               1:21-op-45034       X                X
Town of Gramercy, Louisiana                            1:21-op-45031       X                X
Town of Lutcher, Louisiana                             1:21-op-45035       X                X
St. Clair County, Missouri                             1:21-op-45044       X                X
City of Austin, Indiana                                1:19-op-45739       X                X


                                                       4
    Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 5 of 18. PageID #: 606249


                                                                     No PFS in    No Service of
               Subdivision Name                      MDL Case No.
                                                                     Repository     Process
City of Madison, Indiana                             1:19-op-45740       X             X
Elk City, Oklahoma                                   1:21-op-45017       X             X
City of Calera, Alabama                              1:21-op-45070       X             X
City of Russell, Kentucky; City of Jenkins,
Kentucky; City of Pineville, Kentucky; City of
Worthington, Kentucky; City of Vanceburg,
                                                                         X             X
Kentucky; City of Greenup, Kentucky; City of
South Shore, Kentucky; City of Bellefonte,
Kentucky                                             1:21-op-45094
City of Clanton, Alabama; City of Columbiana,
Alabama; City of Helena, Alabama; City of                                X             X
Pelham, Alabama                                      1:22-op-45016
City of Gulf Shores, Alabama                         1:22-op-45019       X             X
Southwestern Central School District, New York       1:22-op-45024       X             X
Hancock County Board of Education, Tennessee;
                                                                         X             X
Hamblen County Board of Education, Tennessee         1:22-op-45027
Susanville Elementary School District, California;
                                                                         X             X
Lassen County Office of Education, California        1:22-op-45031
City of Hoover, Alabama                              1:19-op-45746       X             X
Adair County, Iowa                                   1:18-op-45122       X
Adams County, Idaho; Boise County, Idaho;
Bonneville County, Idaho; Caribou County, Idaho;
Cassia County, Idaho; Elmore County, Idaho;                              X
Latah County, Idaho; Minidoka County, Idaho;
Owyhee County, Idaho; Payette County, Idaho          1:18-op-46062
Allamakee County, Iowa                               1:18-op-45983       X
Allen County Board of Commissioners, Ohio            1:18-op-45401       X
Ashland County, Wisconsin                            1:17-op-45130       X
Banks County, Georgia                                1:18-op-45378       X
Bayfield County, Wisconsin                           1:17-op-45168       X
Ben Hill County, Georgia                             1:18-op-45505       X
Berkeley County Council, West Virginia               1:17-op-45171       X
Black Hawk County, Iowa                              1:18-op-45303       X
Board of Commissioners for Lucas County, Ohio;
Mental Health and Recovery Services Board of
                                                                         X
Lucas County, Ohio; Lucas County Children
Services Board of Trustees, Ohio                     1:18-op-46177
                                                                         X
Board of Commissioners of Fulton County, Ohio        1:19-op-45440
Board of Commissioners of the County of Allen,
                                                                         X
Indiana                                              1:18-op-45121



                                                     5
   Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 6 of 18. PageID #: 606250


                                                                   No PFS in    No Service of
               Subdivision Name                    MDL Case No.
                                                                   Repository     Process
Board of Commissioners of the County of
                                                                       X
Franklin, Indiana                                  1:18-op-45827
Board of County Commissioners of the County of
                                                                       X
Santa Fe, New Mexico                               1:18-op-45776
County of Clackamas, Oregon                        1:18-op-45442       X
Harrison County, Mississippi                       1:19-op-45113       X
Brantley County, Georgia                           1:18-op-45714       X
Brown County, Wisconsin; Crawford County,
Wisconsin; Iron County, Wisconsin; Juneau
County, Wisconsin; Kewaunee County,
Wisconsin; Outagamie County, Wisconsin;
                                                                       X
Ozaukee County, Wisconsin; Pepin County,
Wisconsin; Portage County, Wisconsin; Racine
County, Wisconsin; Richland County, Wisconsin;
Winnebago County, Wisconsin                        1:18-op-45117
Buffalo County, Wisconsin                          1:17-op-45141       X
Bulloch County, Georgia                            1:18-op-45394       X
Burnett County, Wisconsin                          1:17-op-45131       X
Butts County, Georgia                              1:18-op-45490       X
Cabarrus County, North Carolina                    1:18-op-45747       X
Calumet County, Wisconsin                          1:17-op-45142       X
Camden County, Georgia                             1:18-op-45717       X
Candler County, Georgia                            1:18-op-45165       X
Cannon County, Tennessee                           1:18-op-45924       X
Canyon County, Idaho                               1:18-op-46277       X
John G. Carter, Sheriff of Wayne County, Georgia   1:19-op-45170       X
Charles Town, West Virginia                        1:19-op-45250       X
Charlton County, Georgia                           1:18-op-45713       X
Chippewa County, Wisconsin                         1:17-op-45132       X
City of Alexandria, Indiana; City of Elwood,
                                                                       X
Indiana; Madison County, Indiana                   1:18-op-45151
City of Bainbridge, Georgia                        1:18-op-45383       X
City of Bloomington, Indiana; Monroe County,
                                                                       X
Indiana                                            1:18-op-45235
City of Connersville, Indiana; Fayette County,
                                                                       X
Indiana                                            1:18-op-45159
City of Detroit, Michigan                          1:18-op-45084       X
City of East Lansing, Michigan                     1:18-op-45902       X
City of Escanaba, Michigan                         1:18-op-45068       X
City of Fitzgerald, Georgia                        1:18-op-45603       X
City of Franklin, Indiana; Town of Pendleton,
                                                                       X
Indiana; City of Richmond, Indiana                 1:18-op-46182


                                                   6
    Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 7 of 18. PageID #: 606251


                                                                 No PFS in    No Service of
               Subdivision Name                  MDL Case No.
                                                                 Repository     Process
City of Gainesville, Georgia                     1:18-op-45486       X
City of Hamond, Indiana                          1:17-op-45082       X
City of Indianapolis, Indiana; Marion County,
                                                                     X
Indiana                                          1:17-op-45091
City of Jackson, Michigan                        1:18-op-45904       X
City of Kansas City, Missouri                    1:18-op-46029       X
City of Lansing, Michigan                        1:18-op-45054       X
City of Logansport, Indiana                      1:18-op-45692       X
City of Gainesville, Georgia                     1:18-op-45495       X
City of New Castle, Indiana                      1:18-op-45016       X
City of New Roads, Louisiana                     1:19-op-45011       X
City of Philadelphia, Mississippi                1:18-op-45279       X
City of Portland, Indiana; Jay County, Indiana   1:18-op-46140       X
City of Rochester, New Hampshire; Merrimack
                                                                     X
County, New Hampshire                            1:18-op-46106
City of Sault Ste. Marie, Michigan               1:18-op-45928       X
City of Tifton, Georgia                          1:18-op-45454       X
City of Traverse City, Michigan                  1:18-op-45901       X
City of West Lafayette, Indiana                  1:18-op-45300       X
City of Westland, Michigan                       1:18-op-45903       X
Clark County, Wisconsin                          1:17-op-45150       X
Clarke County, Mississippi                       1:18-op-45278       X
Cleveland County, North Carolina                 1:18-op-45304       X
Cobb County, Georgia                             1:18-op-45817       X
Columbia County, Wisconsin                       1:17-op-45118       X
Columbia County, Georgia                         1:18-op-45607       X
Cook County, Georgia                             1:18-op-45284       X
Alcona County, Michigan                          1:18-op-45340       X
Alger County, Michigan                           1:18-op-45360       X
County of Alpena, Michigan                       1:18-op-45871       X
County of Anoka, Minnesota                       1:18-op-45101       X
Antrim County, Michigan                          1:18-op-45354       X
Arenac County, Michigan                          1:18-op-45341       X
Baraga County, Michigan                          1:18-op-45361       X
Benzie County, Michigan                          1:18-op-45356       X
County of Berrien, Michigan                      1:18-op-45887       X
County of Cass, Michigan                         1:18-op-45868       X
County of Charlevoix, Michigan                   1:18-op-45897       X
Childress County, Texas                          1:18-op-45229       X
County of Chippewa, Michigan                     1:18-op-45066       X
County of Clay, Texas                            1:18-op-45169       X
County of Clinton, Michigan                      1:18-op-45889       X


                                                 7
    Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 8 of 18. PageID #: 606252


                                                           No PFS in     No Service of
               Subdivision Name           MDL Case No.
                                                           Repository      Process
County of Crawford, Michigan              1:18-op-45105        X
County of Delta, Michigan                 1:18-op-45067        X
County of Dickinson, Michigan             1:18-op-45342        X
County of Douglas, Nebraska               1:19-op-45068        X
County of Genesee, Michigan               1:18-op-45083        X
County of Grand Traverse, Michigan        1:18-op-45056        X
Gratiot County, Michigan                  1:18-op-45339        X
Hillsdale County, Michigan                1:18-op-45355        X
County of Houghton, Michigan              1:18-op-45866        X
County of Ingham, Michigan                1:18-op-46178        X
Ozark County, Missouri                    1:18-op-46198        X
Iosco County, Michigan                    1:18-op-45343        X
Iron Mountain County, Michigan            1:18-op-45344        X
County of Iron, Michigan                  1:18-op-45888        X
Isabella County, Michigan                 1:18-op-45349        X
County of Jones, Texas                    1:18-op-45139        X
County of La Salle, Texas                 1:18-op-45234        X
Lake County, Michigan                     1:18-op-45366        X
County of Leelanau, Michigan              1:18-op-45111        X
Lenawee County, Michigan                  1:18-op-45351        X
Luce County, Michigan                     1:18-op-45362        X
County of Macomb, Michigan                1:18-op-45085        X
County of Manistee, Michigan              1:18-op-45113        X
County of Marquette, Michigan             1:18-op-45104        X
County of Mason, Michigan                 1:18-op-45112        X
County of McLennan, Texas                 1:17-op-45075        X
County of Montcalm, Michigan              1:18-op-45865        X
County of Montgomery, Texas               1:18-op-45030        X
Montmorency County, Michigan              1:18-op-45347        X
County of Newaygo, Michigan               1:18-op-46187        X
County of Nolan, Texas                    1:18-op-45061        X
Oceana County, Michigan                   1:18-op-45359        X
Ogemaw County, Michigan                   1:18-op-45348        X
County of Ontonagon, Michigan             1:18-op-45893        X
Osceola County, Michigan                  1:18-op-45357        X
Otsego County, Michigan                   1:18-op-45345        X
County of Polk, Texas                     1:18-op-45077        X
County of Presque Isle, Michigan          1:18-op-45894        X
County of Riverside, California           1:18-op-45878        X
County of Roscommon, Michigan             1:18-op-45102        X
County of Saginaw, Michigan               1:18-op-45082        X
County of San Bernardino, California      1:18-op-46032        X


                                           8
    Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 9 of 18. PageID #: 606253


                                                                     No PFS in    No Service of
               Subdivision Name                      MDL Case No.
                                                                     Repository     Process
County of San Mateo, California                      1:19-op-45126       X
County of San Mateo, California                      1:18-op-46319       X
Sanilac County, Michigan                             1:18-op-45352       X
Shiawassee County, Michigan                          1:18-op-45350       X
County of St. Clair, Michigan                        1:18-op-45896       X
County of Tuscola, Michigan                          1:18-op-45870       X
County of Washtenaw, Michigan                        1:18-op-45886       X
County of Wexford, Michigan                          1:18-op-45364       X
County of Wichita, Texas                             1:18-op-45064       X
John Craft, Sheriff of Vernon Parish, Louisiana      1:18-op-45140       X
Crisp County, Georgia                                1:18-op-45238       X
Davidson County, North Carolina                      1:18-op-46330       X
Decatur County, Georgia                              1:18-op-45334       X
Delaware County, Indiana                             1:18-op-45963       X
Dodge County, Wisconsin                              1:17-op-45143       X
Dooly County, Georgia                                1:18-op-45712       X
Eau Claire County, Wisconsin                         1:17-op-45104       X
Dougherty County, Georgia                            1:18-op-45491       X
Eau Claire County, Wisconsin                         1:17-op-45107       X
Dunn County, Wisconsin                               1:17-op-45133       X
Eau Claire County, Wisconsin                         1:17-op-45112       X
Effingham County, Georgia                            1:19-op-45178       X
Elbert County, Georgia                               1:18-op-45381       X
Emanuel County, Georgia                              1:19-op-45209       X
Fayette County, Georgia                              1:19-op-45293       X
Camas County, Idaho                                  1:19-op-45407       X
City of Saint Paul, Minnesota                        1:19-op-45424       X
Florence County, Wisconsin                           1:17-op-45125       X
Eau Claire County, Wisconsin                         1:17-op-45106       X
Forest County, Wisconsin                             1:17-op-45134       X
Gooding County, Idaho                                1:19-op-45404       X
Mark T. Garber, Sheriff of Lafayette Parish,
                                                                         X
Louisiana                                            1:17-op-45180
Sid Gautreaux III, Sheriff of East Baton Rouge
                                                                         X
Parish, Louisiana                                    1:18-op-45325
Gary Gilley, Sheriff of Richland Parish, Louisiana   1:19-op-45007       X
City of Millington, Tennessee                        1:19-op-45474       X
Grant County, Wisconsin                              1:17-op-45115       X
City of Mound Bayou, Mississippi                     1:19-op-45422       X
Green County, Wisconsin                              1:17-op-45096       X
Green Lake County, Wisconsin; Taylor County,
                                                                         X
Wisconsin; Vilas County, Wisconsin                   1:18-op-45832


                                                     9
   Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 10 of 18. PageID #: 606254


                                                               No PFS in    No Service of
               Subdivision Name                MDL Case No.
                                                               Repository     Process
Greene County, Georgia                         1:19-op-45203       X
Habersham County, Georgia                      1:18-op-45559       X
Hall County, Georgia                           1:18-op-45286       X
Hancock County, Georgia                        1:18-op-45535       X
City of Seven Hills, Ohio                      1:19-op-45413       X
Haskell County, Texas                          1:18-op-45223       X
Douglas Hebert III, Sheriff of Allen Parish,
                                                                   X
Louisiana                                      1:18-op-45142
William Hilton, Sheriff of Rapides Parish,
                                                                   X
Louisiana                                      1:17-op-45178
Houston County, Georgia                        1:18-op-45946       X
Humphreys County, Mississippi                  1:18-op-45021       X
Iowa County, Wisconsin                         1:17-op-45099       X
Iredell County, North Carolina                 1:18-op-45774       X
Irwin County, Georgia                          1:18-op-45283       X
Island County, Washington                      1:18-op-45982       X
Jackson County, Wisconsin                      1:17-op-45121       X
Jackson County, Missouri                       1:18-op-45965       X
Jackson County, Georgia                        1:18-op-45581       X
Jasper County, Georgia                         1:18-op-45504       X
Jeff Davis County, Georgia                     1:18-op-45237       X
Jefferson County Commission, West Virginia     1:17-op-45170       X
Jefferson County Wisconsin                     1:17-op-45122       X
Covington County, Mississippi                  1:19-op-45417       X
Jennings County, Indiana                       1:18-op-45131       X
Johnson County, Georgia                        1:18-op-45716       X
Forsyth County, Georgia                        1:19-op-45420       X
Jones County, Georgia                          1:18-op-45424       X
Johnson County, Kansas                         1:19-op-45443       X
Maverick County                                1:19-op-45426       X
Kenosha County, Wisconsin                      1:17-op-45144       X
Pettis County, Missouri                        1:19-op-45416       X
Kitsap County, Washington                      1:18-op-45956       X
Sandoval County, New Mexico                    1:19-op-45421       X
Lake County, Indiana                           1:18-op-45156       X
Langdale County, Wisconsin                     1:17-op-45124       X
Town of Arcola, Mississippi                    1:19-op-45419       X
LaPorte County, Indiana                        1:18-op-45280       X
Lawrence County, Indiana                       1:18-op-46188       X
Lincoln County, Wisconsin                      1:17-op-45167       X
Town of Arlington, Tennessee                   1:19-op-45471       X
Madison County, Georgia                        1:18-op-45296       X


                                               10
   Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 11 of 18. PageID #: 606255


                                                                    No PFS in    No Service of
                Subdivision Name                    MDL Case No.
                                                                    Repository     Process
Tony Mancuso, Sheriff of Calcasieu Parish,
                                                                        X
Louisiana                                           1:17-op-45179
Manitowoc County, Wisconsin                         1:17-op-45135       X
Marathon County, Wisconsin                          1:17-op-45095       X
Marinette County, Wisconsin                         1:17-op-45145       X
Marquette County, Wisconsin                         1:17-op-45136       X
Marshall County, Indiana                            1:18-op-45157       X
Town of Centerville, Tennessee                      1:19-op-45425       X
McDuffie County, Georgia                            1:18-op-45509       X
Meigs County, Ohio                                  1:19-op-45229       X
Metropolitan Government of Nashville and
                                                                        X
Davidson County, Tennessee                          1:18-op-45088
Monroe County, Wisconsin                            1:17-op-45146       X
Town of Fort Deposit, Alabama                       1:19-op-45427       X
Town of Summit, Mississippi                         1:19-op-45418       X
Morgan County Commission, West Virginia             1:18-op-45444       X
Morgan County, Tennessee                            1:19-op-45075       X
Newton County, Georgia                              1:18-op-45578       X
Noble County, Ohio                                  1:19-op-45096       X
Township of Saddle Brook, New Jersey                1:19-op-45431       X
Walton County, Florida                              1:19-op-45423       X
Oconee County, Georgia                              1:18-op-45219       X
Oconto County, Wisconsin                            1:17-op-45120       X
Oglethorpe County, Georgia                          1:18-op-45262       X
Oneida County, Wisconsin                            1:17-op-45129       X
Jerry L. Philley, Sheriff of West Carroll Parish,
                                                                        X
Louisiana                                           1:18-op-45260
Pierce County, Wisconsin                            1:17-op-45165       X
Police Jury of the Parish of Point Coupee,
                                                                        X
Louisiana                                           1:19-op-45012
Polk County, Iowa                                   1:18-op-45116       X
Price County, Wisconsin                             1:17-op-45126       X
Pueblo County, Colorado                             1:18-op-45801       X
Pulaski County, Georgia                             1:19-op-45176       X
Pulaski County, Indiana                             1:18-op-46110       X
Ronald Richardson, Sheriff of Sabine Parish,
                                                                        X
Louisiana                                           1:18-op-45143
Ripley County, Indiana                              1:18-op-46155       X
Robeson County, North Carolina                      1:18-op-46141       X
Eau Claire County, Wisconsin                        1:17-op-45108       X
Rusk County, Wisconsin                              1:17-op-45116       X
County of Curry, Oregon                             1:19-op-45512       X


                                                    11
   Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 12 of 18. PageID #: 606256


                                                                No PFS in    No Service of
               Subdivision Name                 MDL Case No.
                                                                Repository     Process
Rutherford County, Tennessee                    1:18-op-45258       X
San Juan County, New Mexico                     1:18-op-45829       X
Sauk County, Wisconsin                          1:17-op-45098       X
Sawyer County, Wisconsin                        1:17-op-45137       X
Scott County, Tennessee                         1:18-op-45273       X
Randy Seal, Sheriff of Washington Parish,
                                                                    X
Louisiana                                       1:18-op-45093
Shawano County, Wisconsin                       1:17-op-45119       X
Sheboygan County, Wisconsin                     1:17-op-45128       X
Smith County, Tennessee                         1:18-op-45029       X
Edrick Soileau, Sheriff of Evangeline Parish,
                                                                    X
Louisiana                                       1:18-op-45189
St. Charles County, Missouri                    1:18-op-46059       X
St. Croix County, Wisconsin                     1:17-op-45147       X
St. Joseph County, Indiana                      1:18-op-45500       X
St. Louis County, Missouri                      1:17-op-45083       X
Sumter County, Georgia                          1:18-op-45250       X
Sunflower County, Mississippi                   1:18-op-45020       X
Taliaferro County, Georgia                      1:18-op-45562       X
Tattnall County, Georgia                        1:18-op-45574       X
Toombs County, Georgia                          1:18-op-45576       X
Towns County, Georgia                           1:19-op-45172       X
Trempealeau County, Wisconsin                   1:17-op-45138       X
Troup County, Georgia                           1:18-op-45715       X
Michael Tubbs, Sheriff of Morehouse Parish,
                                                                    X
Louisiana                                       1:18-op-45884
Twiggs County, Georgia                          1:18-op-45379       X
Unified Government of Athens-Clarke County,
                                                                    X
Georgia                                         1:18-op-45218
Unified Government of Macon-Bibb County,
                                                                    X
Georgia                                         1:18-op-45407
Vanderbugh County, Indiana                      1:18-op-45498       X
Vernon County, Wisconsin                        1:17-op-45148       X
Walton County, Georgia                          1:18-op-45297       X
Warren County, Georgia                          1:18-op-45425       X
Washburn County Wisconsin                       1:17-op-45123       X
Washington County, Wisconsin                    1:17-op-45114       X
Washington County, Mississippi                  1:18-op-45022       X
Washington County, Ohio                         1:19-op-45230       X
Waupaca County, Wisconsin                       1:17-op-45166       X
Waushara County, Wisconsin                      1:17-op-45139       X
Wilkes County, Georgia                          1:19-op-45171       X


                                                12
   Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 13 of 18. PageID #: 606257


                                                                   No PFS in    No Service of
               Subdivision Name                   MDL Case No.
                                                                   Repository     Process
Wood County, Wisconsin                            1:17-op-45127        X
Ivy Woods, Sheriff of Jefferson Davis Parish,
                                                                       X
Louisiana                                         1:18-op-45099
Scott Berry, Sheriff of Oconee County, Georgia    1:19-op-45165        X
Worth County, Georgia                             1:18-op-45602        X
Preston Bohannon, Sheriff of Jeff Davis County,
                                                                       X
Georgia                                            1:19-op-45161
City of Memphis, Tennessee                         1:19-op-45220       X
Larry H. Dean, Sheriff of Laurens County, Georgia  1:19-op-45163       X
E. Neal Jump, Sheriff of Glynn County, Georgia     1:19-op-45155       X
Mike Kile, Sheriff of Screven County, Georgia      1:19-op-45167       X
Gary Langford, Sheriff of Murray County, Georgia 1:19-op-45164         X
Randy F. Royal, Sherifff of Ware County, Georgia   1:19-op-45169       X
Gene Scarbrough, Sheriff of Tift County, Georgia 1:19-op-45168         X
Doyle T. Wooten, Sheriff of Coffee County,
                                                                       X
Georgia                                            1:19-op-45145
Meriwether County, Georgia                         1:19-op-45305       X
Cullen Talton, Georgia                             1:19-op-45308       X
Mark Melton, Georgia                               1:19-op-45307       X
Chris Steverson, Georgia                           1:19-op-45313       X
Terry Deese, Georgia                               1:19-op-45314       X
H.W. “Billy” Hancock, Sheriff of Crisp County,
                                                                       X
Georgia                                            1:19-op-45562
William C. Massee, Jr., Sheriff of Baldwin
                                                                       X
County, Georgia                                    1:19-op-45361
Douglas Anderson, Sheriff of Avoyelles Parish,
                                                                       X
Louisiana                                          1:17-op-45164
Evangeline Parish Police Jury, Louisiana           1:19-op-45450       X
Jay Russell, Sheriff of Ouachita Parish, Louisiana 1:18-op-45154       X
Town of Monroe, Connecticut                        1:19-op-45441       X
Wydette Williams, Sheriff of East Carroll Parish,
                                                                       X
Louisiana                                          1:18-op-45259
Bingham County, Idaho                              1:19-op-45758       X
City of Laguna Beach, California                   1:19-op-45447       X
Choctaw County, Alabama                            1:19-op-45770       X
County of Kauai, Hawaii                            1:19-op-45862       X
City of Rochester, New York                        1:19-op-45853       X
City of Saratoga Springs, New York                 1:19-op-45857       X
City of Ogdensburg, New York                       1:19-op-45852       X
City of Auburn, New York                           1:19-op-45843       X
Okaloosa County, Florida                           1:19-op-45894       X
County of Ionia, Michigan                          1:19-op-45261       X


                                                  13
   Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 14 of 18. PageID #: 606258


                                                                      No PFS in    No Service of
                Subdivision Name                      MDL Case No.
                                                                      Repository     Process
City of Athens, Alabama                               1:19-op-45953       X
City of Lynn Haven, Florida                           1:19-op-46006       X
County of Hawaii, Hawaii                              1:20-op-45014       X
City of Buffalo, New York                             1:19-op-46104       X
East Baton Rouge Parish Clerk Of Court Office,
                                                                          X
Louisiana                                             1:19-op-46164
City of Amsterdam, New York                           1:19-op-46162       X
City of Poughkeepsie, New York                        1:19-op-46163       X
City of Pontiac, Michigan                             1:19-op-46183       X
Lawrence County, Kentucky                             1:19-op-46184       X
Milwaukee, Wisconsin                                  1:20-op-45044       X
City of Henderson, Kentucky                           1:20-op-45062       X
Hardin County Fiscal Court, Kentucky                  1:20-op-45063       X
Calais, Maine                                         1:20-op-45051       X
Appling County, Georgia                               1:20-op-45081       X
Evans County, Georgia                                 1:20-op-45080       X
County of Madison, Mississippi                        1:20-op-45106       X
City of Fullerton, California; City of Westminster,
                                                                          X
California                                            1:20-op-45143
City of Seminole, Oklahoma                            1:19-op-45260       X
City of Opelika, Alabama; City of Spanish Fort,
Alabama; City of Centreville, Alabama; City of
                                                                          X
Slocomb, Alabama; Town of West Blocton,
Alabama                                               1:20-op-45208
LaFourche Parish, Louisiana                           1:20-op-45212       X
Bolivar County, Mississippi                           1:20-op-45214       X
Scott County, Mississippi                             1:20-op-45238       X
Town of Poughkeepsie, New York                        1:20-op-45260       X
City of Leesburg, Alabama; City of Jacksonville,
Alabama; City of Rainbow City, Alabama; City of
Ashville, Alabama; City of Springville, Alabama;                          X
City of Moody, Alabama; City of Ragland,
Alabama; City of Thomasville, Alabama                 1:20-op-45261
City of Foley, Alabama                                1:20-op-45287       X




                                                      14
   Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 15 of 18. PageID #: 606259


                                                                No PFS in    No Service of
              Subdivision Name                  MDL Case No.
                                                                Repository     Process
Appanoose County, Iowa; Cerro Gordo County,
Iowa; Cherokee County, Iowa; Chicksaw County,
Iowa; Emmet County, Iowa; Fremont County,
Iowa; Hancock County, Iowa; Henry County,
Iowa; Ida County, Iowa; Jones County, Iowa;
                                                                    X
Keokuk County, Iowa; Madison County, Iowa;
Muscatine County, Iowa; Osceola County, Iowa;
Pocahontas County, Iowa; Poweshiek County,
Iowa; Webster County, Iowa; Winnebago County,
Iowa; Wright County, Iowa                       1:21-op-45051
Atlantic County, New Jersey                     1:19-op-46071       X
Colfax County, New Mexico                       1:21-op-45055       X
Luna County, New Mexico                         1:21-op-45056       X
Union County, New Mexico                        1:21-op-45057       X
City of Brewton; City of Semmes, Alabama        1:21-op-45113       X
City of Millbrook; City of Wetumpka, Alabama    1:21-op-45135       X
City of Fairhope, Alabama                       1:22-op-45002       X
Elmore County, Alabama; Randolph County,
                                                                    X
Alabama                                         1:22-op-45003
County of Torrance, New Mexico                  1:22-op-45004       X
City of East Brewton, Alabama                   1:22-op-45005       X
City of Roanoke, Alabama                        1:22-op-45011       X
City of Irondale, Alabama                       1:22-op-45012       X
City of Alabaster, Alabama                      1:22-op-45013       X
City of Bessemer, Alabama                       1:22-op-45014       X
City of Saraland, Alabama                       1:22-op-45017       X
County of Kendall, Texas                        1:22-op-45010       X
County of Coryell, Texas                        1:22-op-45009       X
Eddy County, New Mexico                         1:22-op-45015       X
Ascension Parish Government, Louisiana          1:19-op-45027                      X
Atkinson County, Georgia                        1:19-op-45118                X (Mylan Inc.)
Avoyelles Parish Police Jury, Louisiana         1:19-op-45444                      X
Baltimore County, Maryland                      1:18-op-45554                X (Mylan N.V.)
Berrien County, Georgia                         1:18-op-45834                X (Mylan Inc.)
Blount County, Tennessee; Jefferson County,
                                                                                   X
Tennessee                                       1:19-op-45132
County of Brevard, Florida                      1:19-op-45064                      X
Butler County Board of Commissioners, Ohio      1:18-op-45037                      X
Carbon County, Wyoming                          1:18-op-45625                      X
Casper, Wyoming                                 1:19-op-45079                      X
Cities of Blakely, Arlington, and Damascus,
                                                                                   X
Georgia                                         1:19-op-45129


                                                15
   Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 16 of 18. PageID #: 606260


                                                                   No PFS in    No Service of
               Subdivision Name                    MDL Case No.
                                                                   Repository     Process
City of Cheyenne, Wyoming                          1:19-op-45280                     X
City of Clarksville, Tennessee                     1:18-op-45517                     X
City of Concord, New Hampshire; City of Dover,
                                                                                X (Mylan N.V.)
New Hampshire                                      1:18-op-45573
City of Donaldsonville, Louisiana                  1:19-op-45028                      X
City of Huntington Beach, California               1:18-op-45588                      X
City of Los Angeles, California                    1:18-op-45601                X (Mylan N.V.)
City of New Orleans, Louisiana                     1:19-op-45003                      X
City of Phoenix, Arizona                           1:18-op-45510                X (Mylan N.V.)
City of Portland, Maine                            1:18-op-46313                      X
Casper, Wyoming                                    1:19-op-45265                      X
City of Sandy Springs, Georgia                     1:18-op-45516                      X
City of Woodbury, Georgia                          1:18-op-45575                      X
Clinton County Board of Commissioners, Ohio        1:18-op-45060                      X
County of Ballard, Kentucky                        1:18-op-45593                      X
County of Huerfano, Colorado                       1:18-op-45168                      X
County of Macon, Georgia                           1:18-op-45577                      X
County of Marin, California                        1:18-op-45657                X (Mylan N.V.)
Napa County, California                            1:18-op-45750                X (Mylan N.V.)
County of Peach, Georgia                           1:18-op-45579                      X
Reno County, Kansas                                1:18-op-45718                      X
County of San Luis Obispo, California              1:18-op-46290                X (Mylan N.V.)
County of Santa Cruz, California                   1:18-op-45679                X (Mylan N.V.)
County of Schley, Georgia                          1:18-op-45580                      X
County of Sonoma, California                       1:18-op-45849                X (Mylan N.V.)
County of Sonoma, California                       1:18-op-45997                X (Mylan N.V.)
County of Wilcox, Georgia                          1:18-op-45506                      X
Crowley County, Colorado                           1:19-op-45255                      X
East Caroll Parish Police Jury, Louisiana          1:19-op-45453                      X
Grady County, Georgia                              1:18-op-46338                X (Mylan Inc.)
Gwinett County, Georgia                            1:18-op-45758                X (Mylan Inc.)
Harford Coutny, Maryland; Caroline County,
Maryland; Garrett County, Maryland; Frederick
County, Maryland; Talbot County, Maryland; City
of Frederick, Maryland; the Mayor and Common                                    X (Mylan N.V.)
Council of Westminster, Maryland; City of Bowie,
Maryland; the Mayor and Council of Rockville,
Maryland                                           1:18-op-45853
Harvey County, Kansas                              1:18-op-45848                     X
Lanier County, Georgia                             1:18-op-46066                X (Mylan Inc.)
Lincoln County, Nebraska                           1:19-op-45099                     X
Lowndes County, Georgia                            1:18-op-45835                X (Mylan Inc.)


                                                   16
   Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 17 of 18. PageID #: 606261


                                                                 No PFS in     No Service of
              Subdivision Name                   MDL Case No.
                                                                 Repository      Process
Montgomery County, Maryland                      1:18-op-45212                X (Mylan N.V.)
R. Chris Nevils, DA of Winn Parish, Louisiana    1:19-op-45296                      X
Ouchita Parish Police Jury, Louisiana            1:19-op-45446                      X
Scott County Board of Commissioners, Indiana     1:17-op-45094                      X
City of Prestonsburg, Kentucky                   1:19-op-45294                      X
City of Inez, Kentucky                           1:19-op-45499                      X
Ada County, Idaho                                1:19-op-45775                      X
County of Freestone, Texas                       1:19-op-45985                      X
City of Owasso, Oklahoma                         1:19-op-45718                      X
Mandeville City, Louisiana                       1:19-op-45753                      X
Caddo County, Oklahoma                           1:19-op-46156                      X
City of Kirkland, Washington                     1:20-op-45121                      X
Board of County Commissioners of Beckham
                                                                                    X
County, Oklahoma                                 1:20-op-45146
Board of County Commissioners of Atoka County,
                                                                                    X
Oklahoma                                         1:20-op-45001
Board of County Commissioners of Haskell
                                                                                    X
County, Oklahoma                                 1:20-op-45002
Board of County Commissioners of Grady County,
                                                                                    X
Oklahoma                                         1:19-op-46167
Board of County Commissioners of Latimer
                                                                                    X
County, Oklahoma                                 1:20-op-45003
City of Muskogee, Oklahoma                       1:20-op-45162                      X
Board of County Commissioners of Muskogee
                                                                                    X
County, Oklahoma                                 1:20-op-45155
Mecklenburg County, Virginia                     1:20-op-45174                      X
Board of County Commissioners of Custer
                                                                                    X
County, Oklahoma                                 1:20-op-45182
Board of County Commissioners of Tillman
                                                                                    X
County, Oklahoma                                 1:20-op-45185
Board of County Commissioners of Roger Mills
                                                                                    X
County, Oklahoma                                 1:20-op-45183
Bryan Bertucci, Coroner; St. Bernard Parish
                                                                                    X
Coroner, Louisiana                               1:20-op-45077
Johnston County, Oklahoma                        1:19-op-45765                      X
Kay County, Oklahoma                             1:19-op-45989                      X
Board of County Commissioners of Coal County,
                                                                                    X
Oklahoma                                         1:20-op-45149
Pottawatomie County Board of County
                                                                                    X
Commissioners, Oklahoma                          1:19-op-45988
Payne County Commission, Oklahoma                1:19-op-45653                      X



                                                 17
   Case: 1:17-md-02804-DAP Doc #: 4867-1 Filed: 01/30/23 18 of 18. PageID #: 606262


                                                                  No PFS in    No Service of
              Subdivision Name                    MDL Case No.
                                                                  Repository     Process
Woodward County Board of County
                                                                                     X
Commissioners, Oklahoma                           1:20-op-45141
Pittsburg County Board of County Commissioners,
                                                                                     X
Oklahoma                                          1:19-op-45711
Dewey County Board of County Commissioners,
                                                                                     X
Oklahoma                                          1:19-op-45801
City of El Reno, Oklahoma                         1:20-op-45252                     X
Harmon County, Oklahoma                           1:20-op-45388                     X
Dinwiddie County, Virginia                        1:20-op-45291                X (Mylan Inc.)
City of Stillwater, Oklahoma                      1:21-op-45045                     X
City of Altus, Oklahoma                           1:21-op-45046                     X
Board of Education of Boardman Local Schools,
Ohio; Board of Education of Liberty Local                                            X
Schools, Ohio                                     1:22-op-45023
Putnam County School Board, Florida               1:22-op-45025                      X
Marion County Board of Education, West
Virginia; Wyoming County Board of Education,
West Virginia; Kanawha County Board of                                               X
Education, West Virginia; McDowell County
Board of Education, West Virginia                 1:22-op-45028
Stephens County, Oklahoma                         1:19-op-45756                      X
Woods County, Oklahoma                            1:19-op-45987                      X
Logan County, Oklahoma                            1:20-op-45058                      X
Jackson County, Oklahoma                          1:20-op-45126                      X
Noble County, Oklahoma                            1:20-op-45129                      X
City of Paintsville, Kentucky                     1:19-op-45559                      X




                                                  18
